Case 1:16-cv-03486-ELH Document 1-10 Filed 10/19/16 Page 1 of 5



                        EXHIBIT 5
Case 1:16-cv-03486-ELH Document 1-10 Filed 10/19/16 Page 2 of 5




                                                                      WHAT WORKS
                                                                         S T U D I O




   LIGHT CITY WEBSITE
   PHASE II PROPOSAL
   for   BOPA/BFAI



   Tracy Baskerville
   Gomnnmieafcions Director
   Bciltimore Office of Promotion and the Arts
   10 East Baltimore Street
   10th Floor
   Baltimore, Maryland 21202


   Dear Tracy,


   Thank you for considering What Works Studio for Phase II the Light City Baltimore
   website. Wo look forward to working with you!




   All the best,
        Case 1:16-cv-03486-ELH Document 1-10 Filed 10/19/16 Page 3 of 5




            Approach &
            Deliverables
            WEBSITE DESIGN PHASE II
            What Works Studio (WW'S) will develop and implement Phase 2 of the hightCilv.org

.           responsive, scalable, mobile-friendly website, which includes:



.               •   Updated Silo Layout
    .                    •   Updated sitemap, as needed
•-                       •   Addition of new section and pages, such as Plan Your Visit and Blog
                         •   Homepage layout adjustment and slider refresh
                         •   Creative direction, photography o.uration and new customized graphics
                         •   Copy writing and copyediting
                •   Calendar/schedule functionality (wob application)
    .                    •   Integration of an off-the-shelf web application
                         •   Customized styling and design
                         •   QA Testing
                         •   Initial population of calendar content
    :           •   Ongoing updates, training and technical assistance
::                       •   Estimating 10 hours/month
Case 1:16-cv-03486-ELH Document 1-10 Filed 10/19/16 Page 4 of 5




    Fee
     PHASE I: UPDATED SITE LAYOUT                                                             30

     Sitemap, new pnges, design adjustments, graphics, copy




     PHASE II: CALENDAR - WEB APPLICATION                                                    120

     Add-on native phone application (mobile app) option available,
     but the price is not included in this proposal




     PHASE 111: ONGOING UPDATES &                                                             so
     ASSISTANCE

     10 hours per month for S months (eslimaie)




     TOTAL ESTIMATED HOURS                                                                   230



     TOTAL FEE                                                                    $23,000
     DISCOUNTED NONPROFIT RATE $100/HOUR



   The estimated fee for What Works Studio's services described above is $23,000.


    The fee shown here is an estimate based on the deliverables outlined in this proposal.
    Changes in project scope or any overages that are anticipated to amount to more than
    the total What Works Studio estimated fee will be presented to the client for approval
    before proceeding.
Case 1:16-cv-03486-ELH Document 1-10 Filed 10/19/16 Page 5 of 5




     Terms
    What Works Studio requests a $5,000 deposit to begin this phase of work. Progress
    payments wiil be billed monthly.




    To signify acceptance of ibis proposal, please sign below and return a copy to:


    What Works Studio, LLC
    Drooke Hall
    519 N. Charles Street Suite 200
    Baltimore, MD 21201




     BALTIMORE FESTIVAL OF THE
